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UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION

 

GULF RESTORATION NETWORK,
SIERRA CLUB, and CENTER FOR
BIOLOGICAL DIVERSITY,

Plaintiff,
Vv.

NATIONAL MARINE FISHERIES
SERVICE,

CASE NO. 8:18-cv-01504-JDW-AEP

Defendant,

AMERICAN PETROLEUM
INSTITUTE,

New Nee Nee ee ee ee ee ee ee ee ee ee ee ee ee”

Defendant-Intervenor.

 

STIPULATED AMENDMENT TO SETTLEMENT AGREEMENT
The Parties, Gulf Restoration Network, Sierra Club, and Center for Biological Diversity
(“Plaintiffs”), the National Marine Fisheries Service (“Federal Defendant,” or “NMFS”), and
American Petroleum Institute (“Defendant-Intervenor”) have agreed to amend the settlement
agreement previously entered in the above-captioned case (ECF Nos. 61 & 62) (“Settlement”)
on the terms memorialized in this Stipulated Amendment to Settlement Agreement
(“Amendment”).

WHEREAS, the Settlement provides, in pertinent part, that Federal Defendant shall

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complete consultation and issue the Programmatic Biological Opinion on or before November
5, 2019.

WHEREAS, notwithstanding the dismissal of this action the Court has retained
Jurisdiction to oversee compliance with the terms of this Stipulation and to resolve any motions
to modify such terms.

WHEREAS, the Settlement expressly provides that its terms, including the deadline
specified in Paragraph 1 for completing consultation and issuing the Programmatic Biological
Opinion, may be modified by the Court upon good cause shown, consistent with the Federal
Rules of Civil Procedure, by written stipulation between the parties filed with and approved by
the Court.

WHEREAS, Federal Defendant has notified the parties that it wishes to extend the
deadline in the Settlement for completing consultation and issuing the Programmatic Biological
Opinion and the parties have met and conferred telephonically in a good faith effort to reach
agreement on this request.

WHEREAS, the parties’ discussions with regard to the requested extension of the
deadline for completing consultation and issuing the Programmatic Biological Opinion are
ongoing and the parties have agreed to an interim extension of that deadline to allow them to
continue their discussions.

THE PARTIES STIPULATE AS FOLLOWS:

1, The November 5, 2019 date for completing consultation and issuing the

Programmatic Biological Opinion specified in the Agreement is hereby extended for a period of

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30 days, to December 5, 2019.

2. Except to the extent expressly modified by this Amendment, all terms and the

definitions contained in the Settlement continue to apply in full force and effect during the

extended Stay period.
IT IS SO STIPULATED

Dated: October 22, 2019

JEAN E. WILLIAMS
Deputy Assistant Attorney General

Environment & Natural Resources Division
SETH M. BARSKY, Chief

/s/ Robert P. Williams

ROBERT P. WILLIAMS

Sr. Trial Attorney (SBN 474730 (DC))
U.S. Department of Justice

Wildlife & Marine Resources Section
Ben Franklin Station, P.O. Box 7611
Washington, D.C. 20044

Tel: (202) 305-0210; Fax: (202) 305-0275
Email: robert.p.williams@usdoj.gov

Attorneys for Federal Defendant

/s/ Christopher D. Eaton
Christopher D. Eaton (Pro Hac Vice)

Earthjustice
705 2nd Ave., Suite 203
Seattle, WA 98104

206-343-7340 Telephone

206-343-1526 Fax
ceaton@earthjustice.org

Andrea A. Treece (Pro Hac Vice)
Earthjustice

50 California St., Suite 500
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San Francisco, CA 94111
415-217-2000 Telephone
415-217-2040 Fax

atreece@earthjustice.org

Tania Galloni

Earthjustice (FL Bar 619221)
4500 Biscayne Blvd., Suite 201
Miami, FL 33137
305-440-5432 Telephone
850-681-0020 Fax
tgalloni@earthjustice.org

Attorneys for Plaintiffs Gulf Restoration
Network, Sierra Club, and Center for
Biological Diversity

/s/ David C. Banker

David C. Banker, Esquire
Florida Bar No. 0352977
Bryan D. Hull, Esquire
Florida Bar No. 020969
Local Counsel for Intervenor American
Petroleum Institute

BUSH ROSS, P.A.

1801 North Highland Avenue
P.O. Box 3913

Tampa, Florida 33601-3913
Telephone: (813) 224-9255
dbanker@pbushross.com
bhull@bushross.com

Steven J. Rosenbaum, Trial Counsel
District of Columbia Bar No. 331728
Bradley Ervin, Esquire —

District of Columbia Bar No.: 982559
Lead Counsel for Intervenor American
Petroleum Institute

COVINGTON & BURLING LLP

One City Center, 850 Tenth Street, N.W.
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